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                   EXHIBIT A
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                                                                                                                                         \Cj) k - f)\ \,l{~:~
                                                                              ACTIVE PHYSICALTHERAPY SERV                                ~ J- t( -ln~j{'Q{ .
                   .'                                               ActiVity SummarY,·by Insurance
                                                                                           As of 10127Y2008
                                                                                                       ",                            ~Ytltm 'S. fYlBr1!e~           I;
                        Insuranco                 Chargos               Pilymonts          AdJustm.. nts           Unlt8    Not Effect         % of AR Total ~
                    No (nsllrllncF;!                 5.060.011             -2,390.00                     0.00         J3S      2,670.00                0.22%
                              hAAOO                  1,965.01>             ~J .37S.00                ·590.0U           49            O.CO              0.00%
                              ACUOO                  6,940.00              -1,751.83             .. 1,9!'l3.t2        lIY      3,235.00                0.211%
                              A(:BOI                 3,390.00              -1,145.43             .1,Q69.11l            91      1,175.40                0.10%
                              ABTOI                19,265.00               .7,128.08             .3,939.92            no       8,1')'7.00              0.67%
                              AP-T03                   640.00                -4iO.00                     0.00          57         16('1,()O            0.U1%
                               Arrt'04                 905.00                  ·50.00                .805.00          20           50.00               11.00%
                               ACHoo                 1,830.00                ..~no_oo                    D.OO          $2        ~iO.oo                0.01%
                                AICiO(l            11,770.00               -6,137.09             -5,632.91           278            (l.OO              O.tJO%
                                Al002               3,795.00                       0.00                  0.00          80      3.795.00                0.31%
                                                    ',170.00                       0.00                  0.00        100       5,170.1)0               M2%
                                AlG03
                                                       3 Jl.OO                 ·301.12                   0.00           9         13.88                Q.OO%
                                Al004
                                                    2,850.00               ·2.18'1.37                ·662.63           51           0.00               11.00%
                               111.1.06
                                                    1,070.00               wl,070.flJ)                   0.00          22          0.00                ().OO%
                               AI.W8
                               hLLlIY              54,0".00              -20,398.87              -1,886.00          jJ 10     31,nO.1l                 2.60%
                                                    9,225.00                       0,00                  0.00        15'/      9,22.5.00               0.75%
                              AMEOO
                                                    7,630.00               .... ,996.02          .2,633.98           142            0.00               0.00'11\
                              AMTOO
                                                    ,'),925.00                     0.00                 0.00           97      S.925.00                0.48%
                              ANTOII
                              AT'I'OU             23I,SOMO               ·40,999.93              .9.211.46          4,07     181,291.61               14.33%
                              BLUOO               160,28>,00             ·3 I, II!7 .86        .75,408.31           4071      53.681.83                4.39%
                                                                           -3,683,94             -5,546.06            172           0.00               0.00%
                               BREOO                9,230.00
                                                    1,71MO                    -647,17            -1,107.83             39           0.00               0_00%
                              BROOO
                              HRC)O)                1,480.00                       0.110                 0.00          34      1,480.00                0.12%
                                                     -540.00                   -186.41               -]53.59           10          O.U()               0.00%
                              BRD02
                                                                               .550.00               .350M             28        900.00                (1.07%
                               RTBOO                1,600.00
                                                    1,955.110             ·I,Ol8.S0                  ·916.50           42          0,00                0.011%
                               BllNOO
                                                                                   0.00                  0.00          35      1~9(J5.(lO              0.16%
                               ('.ALOO              1,905.00
                              CAMOll               16,200.00              -7,835.05              -8,364.9'            460           0.00               0.00%
                              (,.IIMOI              8,200.00                   0.00                      (1.00        139      8,200.(1)               0.67%
                                                    2,320.00                   0.00                         0,00       39      2,320.110               0.19%
                              (,.IIM02
                                                  132t82~.to             -32,247.19            -61,745.43           3481      31(,832.28               :t. Ulo/u
                              CARDO
                              C...ROI             73.235.00               -4,414.82              -1,758,76          1382      61,1161.42               5.00%
                              CAlW2                 1,645.00                 -432.75            ~l1J 62.2$             6S          50.00               0.00%
                              CAR03                 1,170.00                 -386,25               '783.75             26            tum               OJIfJ""
                               CIUJI              40,970.01)             ·17,?lOS8             ·10,897.59             869     12,14U3                  1.01%
                               C[OO2                  410.00                 -246.00               -104.00             16         60.00                0.00%
                              CMIOO                3,870.00                     0.00                  0.00             n       3.870.00                0.32%
                              CMIOI                (1,265.00                1,457.7.            ~2.487,2:;            179      2,320,00                0.19%
                              COlml                4,835.00                  -320.ZZ               -474,78             83      4,040,(10               0.33%
                              CRAOI                5,180,00                     MO                    0.00             99      S,180.oo                0.42%
                              CltA02              16,315.00                -S,607.75            MQ,H4S.Bl             354      3,861.42                0.32%
                              DIlPOO              \8,255.00                -S,21O.S2            -J,419.48            424       9,625.00                0.79%
                              DOLaO               16,005.0U              -10,406.:2:9           -4,;6HO              541       1,032.91                0.08%
                              DONOO                2,365,(10              -T ,080,73            Ml,284.27             ;3            MO                 O.OOt,-t
                              BNCUU                7,470.00               -1~34 •. t1              -125.83           138            0.00               0.00%
                              F.NCOI               1,890.00               .1,890.00                   0.00            44             0.00              0.00%
                               ERIOO               6,330,00               Ml"OO.oo                      O.ou          Jl3      4,830.00                0.4()%
                               ER!Ol
                              FMDO
                                                  21,375.00
                                                   4,010.00
                                                                         ·10,223.34
                                                                          -2,293.'7
                                                                                                .1,040,29
                                                                                                -1,716.13              .,
                                                                                                                     452      10,! I {,37
                                                                                                                                    0.00
                                                                                                                                                       O.K~%
                                                                                                                                                       0.00%
                              GAROO                1,455.00                  -488,87              -966.13             4"            0.00               (1.00%
                              OALOO               72,l20.011             ·24,;;0.96            -31,409.92           1862      10,559.12                l.l~%
                              GAL02                7.20(1.00              -I,980.011                 0.00            134       5,220.00                0.43%
                              GllL03              15,580.00               ·5,699,69             -9,533.19            407         347.12                0.63%
                              GAL04                7,570.00               ·3,457.57             ·4,1l2.43            225            0.00               0,00%
                        !'tinted on 1012712006 2;09;1B PM                                         '$
                                                                                     This program reg/:Qtered to                                      Page 2
                                                                                 A-iYSlQO.l THERAPY SI;RV!C8S, lLC



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                              Sd      W~c\7 : H    0l0c £c       '6n~                      L0c08S9£I2IL: 'ON       X~.::I
                                                                                                                                              OlOHd   ~~~a~ol: WO~.::I
                          Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 41 of 51

                                                           ACTIVE PHYSICALTHERAPY SERV
 ..
.:                                                   Activity Summary by Insurance
                                                                          As of 10/27/2008


      InBUranca                 Chargas              PaYlflent8            AdjulI\ment.              Units    Net Effect        %ofAR Total
          CiALOS                   6,04S.00                ·960.09               ·1.414.91              120       3.670.00             0:30%
           GIlIOO               146.980.00             -67t()~6.6J               .2.7K6.23             3251      17.137.16             (,.31%
         GOLOU                    9,.60.00              ·4,849.35                     0.00              250       4.810.05             0.39%
          ORIlOI                 14,6HO.OO              ·7.0~6.21                ·4.016.13              308       3,637.66             0.30"
         (,VAOI                   2,020.00               .1,136.74                 .88l.26               49           0.00             0.00%
         }IAkC/4                 41,22 ••00            ·13.230.'0                ·6,239.20              809      21.7'8.30             I.7K%
         HAMS                     6,870.00              ·6,8'10.00                    0.00              130           0.00             0.011%
         HAIW6                    3,990.00                    0.00                    0.00               72       3,990.00             0.33%
         UARU1                   12~85.00               ·6,488.21                y6.39(1.79             328           0.00             0.00%
                                                                                 .. J,499.5(,            51           0.00             0.00%
         HAROB                    2,935.00              ·I,43S.44
                                                        ·1,450.00                       0.00             57       1.185.00             0.10%
         liARD?                   2 .•635.00
          IIU!lN)                     900.00              ..399.36                   .lOO.64            16            0.00             0.00%
          IWIOO                 13S,835.00             '39,291.13               .S8.Sl0.'4            2981    \38,013.33               3.11%
          IWIOI                  36,20'.00              ·ij,434.97               ·8,630.03             735    . 21,140.00              1.73%
           IWIP                  13MO.00              ·~1.597.2$                -32,612.72            1512       19.440.00             1.59%
           UOOO                   5,010.00                    0.00                      0.00             9.       s.OIO.UO             0-41%
                                                                                 .:1.99(,,98           248        1~660.00             o~O%
          ~IBOO                  10,960.00              .3,3Q~.02
                                 19.690.l1Cl           ·8,489.40                 ·9.883.48             388         1.317.12            0.11%
          UR02
                                                      .11.126.78                 .9.738.13             789         6,414.49            0,52%
          LIllOl                 27,280.00
          LlB(JS                  8,630,00             -2.371.44                 -2,1J12..88           201         $,345.68            0:27%
                                  S,llS.00               .949.74                  ·1,160.26            131         3,265.00            0.27%
         MAc:<JO
                                 46.170.01l           ·18,350.22                  ·2,669.78            949      . 25,110.00            2.0M'1I
        MAIO 1
        MANDl                     6.585.00             -2,617.51                 '3.967.4')            13.            0.00             0.00%
                                 17.810.00             -{,,769.27               ·11,040.73             343            0.00             0.00%
        MCMOI
                                                           .35.00                      O.M            1463      92,740.00              7.S9~
        MIIDOO                   92,175.00
                                  4,811l.0D            -2,SOO.00                       0.00            100        2.JI0.00             0.19%
        MIlTOI
         Mh,'(J2                  4,960.00                   0.00                      0.00              91       4.960.00             0.41%
                                  1,865,00             ·1.514.91                       0.00              41          350.09            0.03%
         il!!1IT01
        MONOO                     1,'9(1)0             ·1,390.00                   -200.00               46             0.00           0.00%
         NALOO                    9,170.00              ·3,459.(111              ·4.686.92             7.20       1,021.00             C).OS%
         NATO I                  n,41S.00             ·20.476.87                 ·1,447.00             763       15,491.13             1.21%
         NAT07                      880.00                  0.00                      0.00               IS          880.00            0.07%
         NAT08                    6,110.00                    MO                       0.00            117        6,110.00             0.50%
         NAT().                  Il,'71)5.00                 0.00                     0.00             227       12.7.5.00             1.0'%
         NATIO                      JOS.OO                   1l.00                    0.00                1          305.00            0.020/.
         NalDO                    2.140.00                   0.00                     0.00               45       2,141l.00            0.18%
                                  1,410.00                ·33•.83                ·1.009.77              34             65.40           0.OJ0/4
         NCAO"
         NCAOI                   15,260.00                ·808 .• 1              -2,236.79             2!UJ     12,214.30              1.00%
         ONEOO                    4.655.00             ·3.282.S1                 -1,089.60              12.          2H2.S3            0:02%
         ONBOI                    l,900.Ou             -2,190.01                      0.00              109        I,7fJ9.99           0.14%
         PARtiO                   7,92'.00                  0.00                      O.UO              146       7,925.00             0.65%
         PAIWI                    3,890,00                  0.00                      O.UO               79       3,890J)O             0.32%
         PENDI                    1,15;.00                  0.00                      0.00              os        I?! Sj.on            0.U9%
        I"MAOO                   12,425.00             -.5.{I04.43               .7.420.51             '30              0.00           0.00%
         PltoUO                   2,230.00                    OW                      0.00              45        2,230.00             O.llW~
         PR004                   34,720.00             -11,816.60                .1.915.00             106      20.928.40              1.71%
         Pl<oO'                   2,950.00                   0.00                     0.00              48        2,950.00             0.24%
         PROO6                      6Z0.0U                ·612.00                    .8.00               IS             0.00           0.00%
         ROeoO                   33,915.00              ·9,32<'.45              ·11,118.55             7f)0     12,870.00              1.05%
          SAfOO                   6.760.00                   0.00                     0.00             118        6,7(iO,OO            0.550/0
         OCliOf)                 36.795.00            -16,069.00               ·20.726.00              677              0.00           0.00%
         SCROI                  159,275.011           ·53,174.7.               .70,898 .•'            3578      35,201.J3              2.18%
          SCIOO                   1,340.00                   0.00                     0.0<)             33        1.340.00             0.11%
         Sl!DIlO                 89,870.00            ·26,097.13               ·38,531.K7             1305      25,23S.00              2.()6%
      Prlnled on 10127/2008 2,09:22 I'M                              This program Is registered to                                    Psg03
                                                             MSIC<\I. T/-IEAAPr SERVICES, LLC


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                   Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 42 of 51

                                               ACTNE PHYSICALTHERAPY SERV
                                       Activity Summary by Insurance
                                                            As   of 10127/200B

InRirance              Charga"          PaymenlJl           AdJustmen18                 Unll!l       Nel Effect      %otARTotlll
     SEIlOI             21,830.00           -4 1462.22             -6,1~'.78               446         11.205.00          0.92"'-
     Sl!b03             14,7.5,00           -1,084.39              -1,5JU.QI               270         12,UO.11I1         0.99%
     SIlOO.               ',245.00                 0.00                 11.00               90          ','4l.00          0.43"
    8IlLOO                4,RHO.00                 0.00                 0.00                88          4,180.00          0.40%
    S\lMOO                5,450.00                 0.00                 0.00               11 2         $,430.tJ()        0.45%
    seNOI               I i,03MO            .. 7,240.62            -7,094.58               401          3,699.80          0.30%
    seN02                 4,215.00                 0.00                 0.00                H2          4,21>.00          0.34%
    SfIAOV                4,77•. no             -812 •• 3          -Un41                   '09          2.t-IOS.OO        0.23%
      SIQ)O             12,/4'.00            ·4,298.6.             -5,976.35               278          1,870.llO         Q.IS%

     Sl'BOO               1,090.00              -49R.OI              ·.91.39                24              0.00          0.00%
     S~BIII              3.030.00                  0.00                 0.00                52          3,030.00          0.25%
    SrAQ2               7S~620.00          -51,787.99              ·1,239.20              1620         22,592.81           I.8S%
    STAOl                2,870.00            ·1,074.70                  0.00                61          1,7.5.30          0.1!i"-
    STAD4                J,8ZS.00                  0.00                 0.00                73          3,825.00          0.31%
    SrAOS               19,535.00            -(i,44!1.1l           ·1 ,~90.00             406          11,395.31          0 .93%
    Sl'A06              IK,VlS.oo           ·8,300.00                   V.VII             375          10,635.00          U7%
   'fRAOI                4,OI0.Q{J          -1 ,17•. 56            -2,234,44                77              0.00          Q.OO%
   TRAOl                 9.27 • .00         M2,161.13              -2,143.27              202           4,l10.00          0.l6%
   TRA04                IU35.00              4,1144.08             -3,221.21              302           5,>69.71          O.4ri%
   TRAOS                 6,54S.oo           -1,001.40                   0.00              ISO           5,S43.60          O.4S%
   TRA01                 2'>20.00           -1,710.00                   0.00               57             810.00          11.01%
   TRAOS                 1,' 10.()O                0.00                 0.00                3.          l,stO.ou          0.12%
   TRAIO                 2,19$,00                  0.00                 0.00               40           2,195.UO          0.18%
    -"Rill)              4 1830.00                 0.011                0.00               81           4,830.00          0.40%
    UNIOO               10,9'5.00           -3,718.00              ·Z,7l6.74              282           4,460.26          0.)6%
    ONIO!                2,390.00           -1,097.10                   0.00                SS          1,292.90          0.11%
    (INI03                 430.00              .275.20                  0.00                  9           154.80          0.01%
                                                                     ·47r).IJ(1             19              0.00          O~O%
    UN"'.                   880.011            -401.00
    UNI01                3,80l.00              ·629.00                   a.m)               91          3.116.00          0.26%
    IlNI08               4,160.00                  0 .00                 0.00               81          4,160.00          11.34%
    UNiIO                M80.0U                    0 .00                 O.IJiJ            101          MHO.OO            O.4S~

    UNIII                2,175.00                  0.00                  0 .00              46          2.IH .00          0.18%
    USAvo               12.125.00         ·10,1>147                      0.00             271           1,967.53          0.16%
   llSA02               18,090,00         -IO,ZJl.71               ·2,312.0 I             379           5.493 .66         0 .4 5"
   USA03                 8,680.00           -1,lll.8U                    U.OO              163          7,546.20          0.62%
   USA04                 5,490.00           -3,600 .08                   0.00              112          1."9.92           0.15%
   USAU.                 3.Z4,.OQ                  0.00                  O.()(I            64           3,245.00          0.27%
   USA01                 1,315.00              ·786040                   0.00              29             5.8.60          0.04%
  VANOu                  90690.00                  0.00                  (1.00            16H           9,69U.00          0.79%
  WAUI12                 6,335.00                 o.O()                  0,00             106           6..1Jl.00         0.32%
  ZUR04                 21,200.UO          -3,805.07               ·6,644.93              516          16,750.00          1.37%
                $2,668,046.10         -$798,B43.~;S         -$647,004.41                57610     $1,222,198,14         100.00%




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                                                  PHYSlCA.1. THelAPV SERVICES, ll.C



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                   EXHIBITB
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                                             ACTIVE PHYSICALTHERAPY SERV
                                                         555 MAIN STREET. STE 117
                                                             LAUREL. MD 20707
   Page:!                                                      (301 )498-8322                                                                 3/1612010

       Patient:                                                                       In.trucUon. :
                                                                                      Complete the patient infonnation potlion ofyoUl' insurallce
                                                                                      claim form. AttHch thi.' bill, signed wId dated, and IlJi other
                                                                                      billa penaining to the clairlt Ifyuu h"vo a deductible policy,
       CbH"!#:        ROBPAOOO                                                        hold you,' oluim fDIm! until you have met your deductible.
        case#:        1271                                                            Mail directly to YOUI' Ins ut'llnee canier.


Date                OeserlpHon                                 Proclldure       ModifY      Ox 1     Dx 2     Ox 3 Ox 4           Units           Charge

711412009           1'.1'. Evalulltion                          97001                       781.2                                                   200.00
711612009           b:lercise Therapy (each 15 min)             97110                       7812                                    3               180.00
711612009           Manual therapy lechn (each 15 min)          97140                       781.2                                   1                55.00
7/21/2009           B><lreise Therapy (each 15 min)             97110                       781.2                                   3               180.00
112112009           llI.elrical Stimu /ation (each 15 min)      97032                       781.2                                   I                60.00
712112009           Manllal therapy techn (ea.h 15 min)         97140                       781.2                                       I            55.00
712312009           P.>ereiso Th"",py (eAch 15 mitl)            97110                       781.2                                   3               180.00
7/2Y2009            llIectrical Stimulation (each 15 min)       97032                       781.2                                   1                60.00
112312009           Manual therapy teehn (each 15 min)          97140                       781.2                                   1                ~5.oo
7/2812009           &ereis. Therapy ("aeh IS min)               97110                       781.2                                   3               180.00
7/28/2009          1J!ectrical Stimulation (each IS min)        97032                       781.2                                                    60.00
7/28/2009           Manual therapy techn (each 15 min)          97140                       781.2                                                    55.00
11301200')          """reiso Therapy (each IS min)              97110                       181.2                                   2               120.00
7/3012009          Electrical Stimulation (0",,11 15 min)       97032                       781.2                                   I                60.00
7/3012009          Manual therapy tcohn (cuch IS min)           97140                       781.2                                   1                55.00
81412009            F..,.,re!se Therapy (each IS mill)          971\0                       781.2                                   3               180.00
814/2009           lllootrical StimuL,tiOll (e.ch 15 mitl)      97032                       781.2                                   1                60.00
81412009           Manual therapy techn (each 15 min)           97140                       781.2                                                    55.00
8/5/2009           ITJo)rc". Thel'llPY (each 15 min)            97110                       781.2                                  J                180.00
81612009           FAeelrical Slimuwtion (each 15 min)         97032                        781.2                                  I                 60.00
8/6/2009           Manual therapy tecllll (euch 15 n11n)        97140                       781.2                                  1                 55.00
~/1112009          &ereise Therapy (each 15 min)               97110                        781.2                                  3                180.00
811112009          Manual therapy tochn (each IS min)          97140                        781.2                                  1                 55.00
8fl3/200')         P.T. Re-evaluation                          97002           59           7812                                  I                 150.00
8/13/2009          Il>ioro;;,e Therapy (each IS min)           97110                        781.2                                 2                 120.00
811312009          fi.Jectticlll Stimulation (oach 15 min)     97032                        781.2                                   I               60.00
8113/2009          Manuallhempy teehn (each 15 min)            97140                        781.2                                  1                55.00

             r----Provider lnfonnation-----.......                                                                     '!'otal Churges:         $2765.00
                         Provider Name:        SEN'Afr llilLAY PT                                                    Tot.1 Payments:             -$ 863.41
                               License:        22439                                                              Totnl Adjustmonts:            -$ 1901.59
                                                                                                               Tot.1 Due This VI. it:          $2765.00
                             SSN 0 .. EIN;     260766278
                                                                                                             Total Account Balanoe:              ·$220.00
        Assign and Helens.: I he..eby aulhorm. payment of medical bonetit. 10 this phy. ician lbr Ihe •• rvices desc"ibed
                                    above. ralso authorl:tt! the release ofony intonmtioll necessary to procCJI&.!s this claim.

             Patie11t Signature~                                                                              Date;
                                   -----------------------------
                                                                                                                            OLOHd           ~~~aN~l:      WO~j
                       Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 45 of 51


        .'                                       ACnVE PHYSICAL THERAPY SERV
                                         Activity Summary by Insurance
                                                                                                               ~~~'=~ff
                                                              As of 10/2712008

 Insurance               Charg...           payments          AdJ uslmenta             Units        Nat Effect
                                                                                                                    l.            £·S f\AoYI4~
                                                                                                                         (J ,-"a.t.
                                                                                                                             % of AR Total~
                                                                                                                                               <:

Nil lI1SUl'rutt:1:i          150,00              ·115.00                0.00                    S         3s.o0                    0.01%
       AETOI              33,710.00            ·' .•091.93        .17.719.57              709         10.898.50                    1.94%
       AI!T04              4,130.00            .1.S50.UO           .. l?,lJ!i.OO           K5          1.245.00                    0.22%

       AETO?              18,240.00            ·3.0Is.ol          .10,399.99              361          4.825.00                    0.86%
        AGBOO              4.455.00            .1.663 ..'7              0.00               78          2.191.4,                    0.50%
        AIGOO             3u.540.00          ·13,149.4i           ~13.07U.~2              689          4,320.00                    0.7'7%
        AI.I.OO              860.00                   0.00               0.00              211           860.00                    0.15%

        ALLOI              6.075.uO           .),35MO              ·1,K05.00              126            920.00                    0.16%
                                                 .510.00                 0.00             141          7~04S.00                    1.25%
       ALto3               7.5".00
                                                                         0.00              42            150.00                    o.()j%
       AMBO I                625.00              ·475.00
                                                      0.00               0.00             131          7.120.00                    1.27%
       AMB02               7,120.00
                                               .5,628.75            ·1.400.00            1013         <>,'71.25                    8.17%
       ATTOO              53.000.00
                                                      O.u(1              0.00                I           200.00                    0.04%
       BLUOO                 200.00
                                             ·24,87.1.05          .72,912.24             3001         38,397.71                    6.83%
       CAROO             136,185.00
                          43,370.00           ·1,557.66            -3,:H7.34              732         38,435.00                    6.83%
       CAR02
                                                                         0.00             113          6.8lS.00                    1.21%
        CAROl               7~14S.00             '330.00
                           3,5UO.C)0             ·804.50           '1,825.50               96            .70.00                    0.1:1%
       CAR04
                                                 .~;(I.OO                0.00             229         12,37S.00                    2.2C)%
       CAR05              13,225.00
                                                 ·484.14             -520.86               66          1,535,00                    0.27%
       CARO)               2,S4{),OO
                          44,59S.o0          ·18,170M             ·19,420.15             1013          7.004.40                    1.25%
        ClClOO
                                              .4,373.40            .;,691.60              227          1.060.00                    0.19%
        CINOO             11,125.00
                                              ·1,497.35            ·2.367.65               72              0.00                    0.00%
       CNAOO               3,865J1O
                           9.235.00           .3,210.94            ·5,113.15              2M             910.9(                    0.16%
        CRADO
                           7 ..';2$.00        ·1 ~32.14            0.2,427.03             182          3,21S.~"                    0.57%
        DEI'OO
                              ~6~.()O                0.00                0.00               I.           565.00                    0.10%
        El.OOO
        rlNC~)O            .,SlO.PO           ·I,SOO.OJ                  0.00              RS          3,029.97                    0.540/0
                                                                                                       5,140.00                    0.91%
         muon               M15.00            ,I,Sl8.45            ·2,356.55              178
          IlSl00            2,7~O.OO             .166.62             ·253.38               42          2,31'10,00                  0.420/.
                            2.200.00          -2,200.00                  0.00              39               0.00                   0.00%
        FlU!OO
                          10.705.00           -4,828.45            -2.903.31              253          2,973.24                    0.53%
       0"-1\00
        GUum                 1.415.00            .850.110                0.00              28            565.00                    0.10%
         OBIOI            11,.'5.00           .1.967.00                ·67.00             251          9.581.00                    1.70%
        Clwon              11.630.110         ~1,O60.30            ~9,8IH.20              244            751.50                    0.13%
       HAROO                4,875.00             ·804.33             ·950.67                %          3,120.00                    0.55%
       IfAI1.01             4.110.00           .1.461.24           ·1,478.76               97          1.1711.00                   0.21%
        IWIOO             55.715.00          ·22,611.45           ·30,043.46             1439          3,054.09                    0.54%
         K;rlOO             0,326.64           .3,097.45           ·I,~70.00              i49          1,6~9.19                    tl.29%
         IJBOI              2.840.00          .1,070.71                   0.00             57          1,769.29                    (l.:1I%

        LOCOU                1,660.00                0.00                 0.00             30          1,660.00                    0,30%
     MAB(lO                  1,935.00                0.00                 0.00             37          1.935.00                    0.14%
      MAloa                  1,980.0()               0.00                 a.no             18          1,98f1.00                   0.35%
     MAMOU                19,420.00           .2.2SK.R4            -8,006.7(1             467          9,154.40                    1.63%
     MAMOI                  7,990.00               ·50.00               0.00              134          7,940.00                    1.41%
     MAROI                14,255.00                  0.00            ,595.00              239         13.660.fJO                   2.4)%
      MDOOO                   410.00                 O.flO              0.00               16            410.00                    0.07%
      MOIOO                 2.160.00            ·S90:'~              ,965.42               4<i           603.80                    0.11%
     MlllJlIl            190.470.00                 0.00                0.00             2913        190.470.00                   3.3.86%
     NATOO                10,115.00          ·10,115.00                 0.00              )65               0.00                   o.UU%
     N'AT(H               13,180.00           ·5.740.110                11.00             24$          7,440.00                    1.3Z%
      NCOOO                   895.00                0.00                0.00               15            89'-00                    0.16%
     NCAofl                 7.665.0(1         .1,).7.14            -4,629:19              157          1,23R.Q1                    0.22%
     NOMOO                  4.655.01)         -3,193.03            .1,752.17              135           ·,90.20                   ·0.05'1\
     ONF!OO                 1,270.00                !l.OO                0.00              23          1,270.011                   0.23%
     OPTOD                !S,500.00           ·3,67US             ·11,177.42              343            650.00                    0.12%
  Fl-Inted on 10127120082:18,17 PM                       This program is regloter&d to                                            Page 1
                                                     A-IYSIC'lL THERAPY SERVICES, LLC



                                                                                   'ON Xtl.:l                            OlOHd >1~loIaNtll: IO:I.:J
                 IoItlW : n 0T0G £G '6ntl                     L0Gl11BS9£0L:
       £d
                  Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 46 of 51


                                          ACnVE PHYSICAL THERAPY SERV
   •
                                   Activity Summary by Insurance
                                                      As of 10127/2008


In:eur.nea           Ch"rg ••        Paymonts         Alijulltments         Units         Nat r:rract      %orAR Total
   PlJNOO              3,'10.00         ·1 ,020.00               a.uu             8~         2,490.00           0.44";
   ~MAOI               6,740.00               0 .00             G.OO             I/O         (j,740.06           1.1.0%
   PROOO                 930.00               OJlO              IWO               2$           930.00           O . l"~
    SAFUO              1~7ftO.OO          -7H.8!             -994.12              51            40.00           11.01%
       scloa           1,540.01)              11.00             0.00              25         1..140.lJrI        0.27%
       88n02          11,37$.00        ·1,9'0.72           -2,852.96             254         6,571.32           1.17%
       Sfl1JOJ
       SEL02
                       2,520.00
                       3,200.00
                                       -1,136,85
                                          .235.00
                                                           -1,383.15
                                                           -2,!"6S.00
                                                                                  '857           0.00
                                                                                                 0.00
                                                                                                                0.00%
                                                                                                                fJ.lJO%
        SI~O           5,240.00        -1,/m.72            -1,339.25             102         2,828.03           0.50%
       ~Tf)OI          1,400.00           ·604.61            -1V.'.39             32             11.00          0.00%
   !if AO)            39,635.00       -26,79l."                -10.00            845        12,H29.18           2.ZKl!.
   STA02               6,845.00              0.00                0 .00           113         6,!4'.00           1.22%
   TITtlO              4,285.00        -2,055.00                 0.00             ?]         2,230.00           0.40%
   TRAOO               ~,lI2j.00       -2,675.34           -3,149.66             122              0.00          u.OO%
   TRA04                4,090.00       - t,755 .15         -2,184.85              18            UO.OO           0.01%
       TRIGO          I Moo,OO           -919.63           -2,285.83             386        16,194.54           V"I%
                          860.00            <1.00               a.on              11            860.00          (.1.15%
       TRl02
       LJNIO I          9,035.00         -779. (4            -650.86             189         1,60S.00           1.35%
   UNIOl                4,60S.00             n.OO               O.cHl             03         4,60'.00           0.8Z%
   UNI04                1,870.0n             CJ.()O             0.00              38         I ,X70.00          CUl%
       UNIDS             305.00             0.00                0.00              II            3115.00         0.05%
       V&JOO             lR5.00             11,00               (1.00             IS            58'.00          0.10·,4
       usual           1,470.00             0.011               0 ,00             22         1,470.00           U.26%

   USAOn              27,07S.00       -11,143.31           -1.1\9.93             616        14,411.76           2.56%
  WAUOI               IO,6~0.OO        -4,407.04           ·5,902.96             334           340.00           0.06%
                                                                                 215          ·607.17           ~().11%
  ZUKlIQ               7,810.00        ~4.132.94           -4,2K'.n
                 $1,053.411.64     -$224,552.92       -$26G,271.68         21290         $562,587.04          100,00%




A-Inled on 10127120082:16:18 PM                 Thle progrflm Is rvglstered to
                                             PhYSICAL ~py SERVICSS, LLC
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                   EXHIBITC
                           Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 48 of 51

                                             ACTIVE PHYSICALTHERAPY SERV
                                                         555 MAIN STREET, STE 117
                                                                LAUREL, MD 20707
    Page: 2                                                       (301)498-8322                                                       3116/2010

        Patient:                                                                 Jnstl'uetluns:
                                                                                 Compicte the patient information portion of your insurance
                                                                                 clailn fulTll. Alt.ch this bil~ signod and dated, and all other
                                                                                 bills pertaining to the claim lfyou have a doductiblc policy,
       Cbarl II:       MCNDEOoo
                                                                                 hold your claun lorm. until you havc met your deductible.
       CftlIe #:       1357                                                      Mail directly to your Insul'"nce carrier.


Oat9                 Description                                Procedure   Modify     Dx1        Dx2     Dx3      Dx4       UnIts        Charge

IW7/2oo9             Hot Pack/Cold Pack (eaoh IS min)           97010                  726.2      726.0   726.1                I             40.00
101812009            Elercise Th.lapy (<l'dch 15 min)           97110                  726.2      726.0   726.1                3            ISO.OO
 101812009           Electrical StinulMlon (.ach 15 min)        97032                  7262       726.0   726.1                              60.00
 10181200')          Hot PacWCold Pack (each 15 min)            97010                  726.2      726.0   726.1                              40.00
:101812009           Neuron... culal'reeducation (each 15       97112                  726.2      726.0   726.1                              60.00
HV8I2009             Mllnu,,1 thelapy techn (each 15 min)       97140                  726.2      726.0   726.1                              55.00
10112/2009           F""",i.e Thol1lpy (each 15 min)            97110                  726.2      726.0   726.1                4           240.00
1011212009           Electrical Stl",ulatiol1 (each IS .Din)    97032                  726.2      726.0   726.1                1            60.00
1011212009           lIot PtlCWCold Pack (~ach 15 min)          97010                  126.2      726.0   726.1                1            40.00
10/12/2009           NeUlolIUlscul.r reeducation (each 15       97H2                    725.2     726.0   726.1                             60.00
1011312009           IJierci,e Therapy (clleh 15 min)           97110                  726.2      726.0   726.1                4           240.00
10113/2009           Electrical Stilrultttion (each 15 mill)    97032                  726.2      726.0   726.1                1            60.00
JO/13{2(X~)          Hot Pack/Cold Pack (each IS min)           97010                  726.2      726.0   726.1                             40.00
10113/2009           Nti"">l11llsclllal"teedllcatiun (each 15   97112                  726.2      726.0   726.1                I            60.00
1011512009           ~i•• Therapy (each 15.Din)                 97110                  726.2    726.0     m.l                  3           180.00
101 ISJ2009          Electrical SlihlUlation (each IS min)      97032                  726.2    726.0     726.1                             60.00
1011512009           Hot Pack/Cold Pack (each 15 olin)          97010                  726.2    726.0     726.1                             40.00
I01 1512009          Neuromuscular reodllc.tion (each IS        97112                  726.2    726.0     726.1                             60.00
1011512009           Manual thempy techn (eaoh IS mill)         97140                  7262     726.0     726.1                             55.00
10119/2009           Ewn:ise Thorupy (each 15 mill)             97110                  726.2    726.0     726.1                4           240.00
10/1912009           Electrical SIim.Jlation (each 15 min)      97032                  7262     726.0     726.1                1            60.00
1011912009           JiO! Pack/Cold Puck (each IS min)          97010                  726.2    726.0     726.1                             4O.0U
'10/19/2009          Nel1l'OlTllsoLllar reeducation (each IS    97112                  7262     726.0     726.1                             60.00
10120/2009           P.T. ReoevaklallOl'                        97002       S9         726.2    726.0     726.1                            150.00
1012012009           IJxcl'cise ·111.rnFY (each IS min)         97110                  726.2    ?lv.O     726.1                4           240.00
10{20/2009           Manual therapy techn (each 15 min)         97140                  726.2    726.0     726.1                1            55.00
10/2012009           Nouromuscular rcoducatioll (each IS        97]]2                  726.2    726.0     726.1                             60.00

              .-----·Pmvider Infommtion-------,                                                                    Total Otarg •• :     $2535.00
                          Provider Name:       JASON NUNN P.T.                                                   Total Puyment"         -$1399.29
                                License:       21596                                                          Total Adjustments:       -$1330.93
                              SSN Or EIN:      260766278
                                                                                                            Total Due This Vi.it:      $2535.00
                                                                                                          Total Account Bala"ce:        -$ 53732
        A .. ign and Relell •• : 1 hureby authotu.. payment ofmedical bell.f~. to this physician furthc service. described
                                 ~bo"•. lals" authorize the rele••• of,my inlimnation nec... alY tu process this claim


              Patient Sigll81ure:
                                    ------------------------                                              lJale:



                                                                   L0G08S9~0L:   'ON   X~~
Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 49 of 51




                   EXHIBITD
                            Case 1:10-cv-02124-BAH Document 4 Filed 05/03/11 Page 50 of 51

                                           ACTIVE PHYSICALTHERAPY SERV
                                                       555 MAIN STREET, STE 117
                                                           LAUREL, MD 20707
    Page: 1                                                  (301 )498-8322                                                         311612010

        Patient:                                                                 lnltructJons ;
                                                                                 Complete the patient infotmotion portion oryuUl'insurance
                                                                                 claimfomt Attach t1,~. bill, signed IlI1d dated, and nil uther
                                                                                 bills pertaining to the claim. If you have a deductible polioy.
       Cbartll:      ROBPAOOO                                                    hold your clulm torrm until you have met your deductible.
        Cuse #:      1271                                                        Mail di1~ctly to your Insurance carrier.


Date               Deserl pHon                               Procodure     ModllY      Ox 1       Dx 2   Ox 3    Ox 4       Units       Charge
71l4l2009          p:r. Evaluation                           97001                     781.2                                              2()().00
711612009           l!Jerciso Therapy (each 15 min)          97110                     7812                                   3           180.00
7/1612009           Manualtherapy lechn (each 15 olin)       97140                     781.2                                  I            55.00
7/21/2009          Il>o:lroise Therapy (..,eh 15 min)        97110                     781.2                                  3           180.00
1121/200')          Electrical StimulaLiun (each 15 min)     97032                     781.2                                  J            60.00
712112009          Mnnualtherapy techn (each 15 min)         97140                     781.2                                               55.00
712312009          ll>ercise Th"",py (each IS mill)          97110                     781.2                                  3           180.00
7/2112009          !!leclrlual Stimulation (each ISmin)      97032                     781.2                                  1            60.00
11ZJ12009          Manual therapy Lochn (each 15 min)        97140                     781.2                                  I            55.00
7128/2009          E>ercise Thorapy ("""h IS min)            97110                     781.2                                 3            180.00
7/28/2009          Ill.etrical Stimulatioll (each IS mill)   97032                     781.2                                               60.00
7/28/2009          Manual therapy techn (each 15 min)        97140                     781.2                                               55.00
7/301200')         Exercise Therapy (each IS min)            97110                     781.2                                 2            120.00
7/30/2009          F..Iectrieul Stimulation (each 15 mill)   97032                     781.2                                 I             60.00
7/3012009          Manual t1,.,'aPY teehn (caoh IS mfn)      97140                     781.2                                 1             55.00
8/412009           F....rcise 'Iherapy (each 15 min)         97110                     781.2                                 3            180.00
81412009           Il1oolrioal Stimulation (••oh 15 min)     97032                     781.2                                 1             60.00
8I4I2()()<)        Manuallhempy techn (each 15 min)          97140                     781.2                                               55.00
81612009           Iloo>rciso Therapy (each 15 min)          97110                     781.2                                 3            180.00
8/6/2009           FJectJ'ical Stimulution (each I~ min)     97032                     781.2                                  1            60.00
8/6/2009           Manual therapy tochn (each 15 min)        97140                     781.2                                 I             55.00
~/1lI2009          Eo<orcise Therapy (oach 15 mill)          97110                     781.2                                 3            180.00
8/11/2009          Manunl th.rapy 'cchn (each 15 min)        97140                     781.2                                               55.00
81131200')         P.T. Ra-evaluation                        97002        S9           7812                                  1            150.00
8/13/2009          ~rols. Therapy (each 15 min)              97110                     781.2                                 2            120.00
8113/2009          fiJectrical Stbrulation (.nch 15 min)     97032                     781.2                                              60.00
811312009          MallUal1hel'dPY Icohn (each 15 min)       97140                     781.2                                              55.00


              ,-----P1roviderlnfonnation-----........                                                             Total ChHrges:       $2765.00
                        Provider Name:      SENA IT llllLA. Y PT                                                Tot.1 Payments:        -$ 863.41
                              License:      22439                                                            TotaIAdju,tmonts:        -$ 1901.59
                                                                                                           Total Due l'bls Visit:     S 276S.pO
                             SSN or EIN:    260766278
                                                                                                         Total Acoount Balance:        -$220.00

        A.. ign and I\elease: Ihul'eby authorm. p.yOlellt of medical bun.tit. to this physician lor the sorvices described
                              nbovs* I also author1:lo the release of any intonnation necessary to proco:u thi'i claim.

              pati011t Signatul'e~ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                              Duto:



                                                                   L0~0BS9£0L:   'ON   X~~                            OlOHd       ~~~WaN~l : WO~~
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